                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION

                               )
 IN RE: REALPAGE, INC., RENTAL )            Case No. 3:23-md-3071
 SOFTWARE ANTITRUST LITIGATION )            MDL No. 3071
 (NO. II)                      )
                               )            Chief Judge Waverly D.
                               )            Crenshaw, Jr.
                               )
                               )            JURY DEMAND
                               )
                               )            This Document Relates to:
                               )            ALL CASES


    PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO LRO USER
DEFENDANTS’ 12(b)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM




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    I.   INTRODUCTION

         LRO Defendants’ (“LRO Users”)1 Motion to Dismiss ignores allegations in Plaintiffs’ First

Amended Consolidated Class Action Complaint (“AC”)2 that plausibly plead LRO Users’

conscious commitment to the alleged conspiracy, misapprehends the applicable law,

inappropriately raises evidentiary and factual disputes that cannot be resolved at the pleading stage,

and relies on inapposite authorities that address fundamentally different claims and issues than

those before the Court. The Court should deny the Motion for at least the following reasons.

         First, LRO Users misconstrue the essence of the alleged conspiracy. Each Lessor

Defendant agreed to delegate their rental price and supply decisions to RealPage and to abide by

those decisions, knowing other competitors were doing the same. ¶¶ 2-4. Whether certain RealPage

clients took different steps to implement that agreement in restraint of trade—by using different

software interfaces, exchanging more or less information with RealPage, or employing internal as

opposed to external RealPage Pricing Advisors—is immaterial. See SD3, LLC v. Black & Decker

(U.S.) Inc., 801 F.3d 412, 427 (4th Cir. 2015) (rejecting defendants’ argument that parallel conduct

requires uniform adherence to the alleged conspiracy, or for defendants to have achieved the

alleged objective in the same way).3 If all the Lessor Defendants agreed to abide by the common


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 LRO Users are Defendants Bell Partners, Inc.; Brookfield Properties Multifamily LLC; CONAM
Management Corporation; Equity Residential; Independence Realty Trust, Inc.; Mid-America
Apartment Communities, Inc.; Morgan Properties Management Company, LLC; The Related
Companies, L.P.; Related Management Company, L.P.; Security Properties Inc.; Simpson
Property Group, LLC; Thrive Communities Management, LLC; Windsor Property Management
Company; and WinnCompanies LLC and WinnResidential Manager Corp. See Dkt. 323, fn.1.
2
  Unless specified otherwise, all references to “¶,” or “¶¶” are to paragraphs from the AC, Dkt.
314. Unless specified otherwise, all terms are used according to their definition in the AC.
3
   See also ABA Model Jury Instructions in Civil Antitrust Cases at 13 (2d ed. 2016) (“The
members of the conspiracy need not necessarily have met together, directly stated what their object
or purpose was to one another, or stated the details or the means by which they would accomplish
their purpose . . . A conspiracy may be formed without all parties coming to an agreement at the

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pricing decisions of “a guy named Bob[,]” it is irrelevant whether Bob communicated those pricing

decisions via short text messages or long emails accompanied by other information about the

recipient’s competitors.4 ¶ 118. The same is true here.

       Second, LRO Users compound this mistake by erroneously claiming that Plaintiffs have

“plead themselves out of court.” Dkt. 324 (“LRO MTD”), at 6. Contrary to LRO Users’ tortured

readings of Plaintiffs’ prior complaints, Plaintiffs never “admitted LRO’s algorithm uses only

public information and thus is not anticompetitive.” Id. (emphasis added). Rather, the portions of

the specific superseded pleadings cited by LRO Users address only the original design of LRO ten

years before RealPage acquired it, i.e., what it used to do. Those allegations do not contradict

Plaintiffs’ extensive allegations regarding how RealPage altered LRO after RealPage purchased

the product in 2017. LRO Users simply ignore those operative allegations. For example, Plaintiffs

plead that: RealPage merged both the algorithm and data pool behind LRO after acquiring it in

2017 with RealPage’s pre-existing and subsequent RMS offerings, ¶¶ 13-16, 106, 108-113, 121,

134, 171; LRO Users consciously continued to use LRO to set their prices and use their data

alongside other RealPage RMS clients despite those changes, ¶¶ 106, 110 n.69; and LRO Users

also accepted RealPage’s imposition of Pricing Revenue Managers post-acquisition. ¶ 112. These

allegations demonstrate LRO Users’ participation in the alleged anticompetitive agreement after

RealPage’s acquisition; they are also perfectly consistent with the earlier, inoperative pleadings.

       Third, even if there were a disconnect between the AC and these prior pleadings—and



same time. Similarly, it is not essential that all persons acted exactly alike, nor is it necessary that
they all possessed the same motive for entering the agreement.”) (hereinafter, “ABA Model Jury
Instructions”).
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  Moreover, it appears that LRO Users do not contest that they provided their own confidential
and proprietary information to RealPage to permit it to price their units.
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there is not—LRO Users ignore that “amended pleadings supersede original pleadings.” Braden

v. U.S., 817 F.3d 926, 930 (6th Cir. 2016). Thus, any alleged “admission” is (at most) an

evidentiary issue that has no bearing at the motion to dismiss stage. See Uhlig LLC v. CoreLogic,

Inc., et al., 2023 WL 4234612, at *11 (D. Kan. June 28, 2023) (denying a party’s request that the

court treat certain factual allegations from abandoned pleadings as admissions, concluding that

doing so “poses an evidentiary issue—not an issue the court can decide on a motion to dismiss.”).

Because an “evidentiary admission does not preclude contrary proof to dispute a fact,” Davis v.

Echo Valley Condo. Ass’n, 349 F. Supp. 3d 645, 653 (E.D. Mich. 2018), aff’d, 945 F.3d 483 (6th

Cir. 2019), such admissions are suited for summary judgment and trial, not at the motion to dismiss

stage.

 II.     RELEVANT FACTS

         From at least January 2016 through the present, Defendants engaged in a nationwide

conspiracy to fix and inflate the price of multifamily rental housing across the country. ¶ 1.

Defendants are (a) RealPage, the developer of an integrated technology platform that provides

software solutions for the multifamily rental housing market, including its RMS software (which

includes at least LRO, YieldStar, and AI Revenue Management), and (b) Lessor Defendants,

managers of large-scale multifamily residential apartment buildings—including the 15 LRO

Users—that used one or more of RealPage’s RMS software products to coordinate and agree upon

rental housing pricing and supply. ¶¶ 2, 49, 52, 55, 61, 66, 72, 74, 77, 81, 83, 84, 88, 89.

         RealPage acquired LRO from the Rainmaker Group in 2017, thereby doubling the lease

transaction data used to provide pricing decisions to Lessor Defendants. ¶¶ 13, 106, 110. Since its

acquisition and integration of LRO, RealPage has made “enhancements” to the original LRO

design. ¶¶ 15, 106, 110-13. It has also notified LRO legacy users that their proprietary non-public

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information input into RealPage’s hosted platform did not qualify as confidential information and

could be disseminated in a form “determined by RealPage in its sole discretion” to competitors for

the purpose of providing comparables and pricing recommendations through its RMS software.

¶¶ 108-09, 111-13, 133 n.91, 171. Through their continued use of LRO post-acquisition, LRO

Users consciously choose to “work together” with their “competitors” and with RealPage as a

“community in pricing strategies” to accept RealPage’s pricing decisions and avoid periods of

oversupply of multifamily rental housing units in the market. ¶¶ 4, 22, 25, 103, 139.

       As demonstrated more fully in Section III.A, Plaintiffs plead facts that show LRO Users

adopted RealPage’s RMS software to delegate their price and supply decisions to RealPage, with

the explicit and common goal of increasing rents for all RealPage RMS clients. ¶¶ 171-74.

III.   ARGUMENT

       In analyzing a motion to dismiss, courts “construe the complaint in the light most favorable

to the plaintiff, accept its allegations as true, and draw all reasonable inferences in favor of the

plaintiff.” In re Travel Agent Comm'n Antitrust Litig., 583 F.3d 896, 902-03 (6th Cir. 2009). Bell

Atlantic Corp. v. Twombly calls for “a complaint with enough factual matter (taken as true) to

suggest that” a violation of the Sherman Act occurred. 550 U.S. 544, 556 (2007). The pleading

standard requires only enough “factual content that allows the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Twombly, 550 U.S. at 556). The reviewing court must determine not whether

the plaintiff will ultimately prevail, but whether the facts permit the court to infer “more than the

mere possibility of misconduct,” which is “a context-specific task that requires the reviewing court

to draw on its judicial experience and common sense.” Id. at 679. In the Sixth Circuit, a complaint

must simply “put defendants on notice concerning the basic nature of [plaintiff’s] complaints

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against the defendants and the grounds upon which their claims exist.” In re Se. Milk Antitrust

Litig., 555 F. Supp. 2d 934, 943 (E.D. Tenn. 2008).

   A. Plaintiffs Plausibly Plead LRO Users’ Conscious Commitment to the Alleged
      Conspiracy.

       Plaintiffs plead facts that show LRO Users used RealPage’s RMS software to delegate their

price and supply decisions to RealPage—knowing other competitors were doing the same and with

the explicit and common goal of increasing rents for all RealPage RMS clients. ¶¶ 2-4, 22, 121,

132, 171-74. Immediately upon RealPage’s acquisition of LRO, RealPage merged LRO with its

existing “modeling tools,” and the data on which they trained, thereby doubling the amount of

lease transaction data RealPage uses to provide pricing decisions to Lessor Defendants, including

LRO Users, through its RMS software. ¶¶ 13, 15, 106, 110, 112. As to legacy users who elected

to continue to use LRO through RealPage’s hosted platform, RealPage also notified them that their

proprietary information input into the RealPage RMS platform was not confidential and could be

circulated in aggregated form to their competitors—RealPage’s RMS software clients—for the

purpose of providing comparables and pricing recommendations. ¶¶ 111-13, 133 n.91, 171. In

other words, LRO Users were aware that the pricing information exchanged in connection with

their use of RealPage’s LRO contained their competitors’ non-public and proprietary transactional

data. ¶ 171-74. Since then, RealPage has made further “enhancements” to the original LRO, and

integrated LRO and YieldStar to form a new RMS software, AI Revenue Management. ¶¶ 15, 106,

110-13.

       By continuing to use LRO post-acquisition, LRO Users consciously committed to a

common scheme, design, and understanding to “work together” with their “competitors” and

RealPage, accept RealPage’s pricing decisions, and, in doing so, “make . . . all [RealPage RMS

clients] more successful in our pricing.” ¶ 4. Aware of the antitrust concerns posed by using
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RealPage’s LRO, at least one LRO user, AvalonBay, demanded a contractual provision (renewed

last year) that prohibited RealPage from (1) utilizing any data in the LRO pricing recommendation

to AvalonBay other than AvalonBay’s own data and publicly available data; and (2) utilizing

AvalonBay’s data or disclosing the LRO recommendations made to AvalonBay to any other

RealPage client. ¶¶ 108-09. To Plaintiffs’ knowledge, no other alleged co-conspirator similarly

withdrew from or declined to acquiesce in the alleged anticompetitive agreement.

       LRO Users also implemented the alleged conspiracy in other key ways. For example, LRO

Users acted upon RealPage’s urging to “shop [their] competitors over the phone, in-person, and

view their websites.” ¶ 173. A former employee of Lessor Defendant and LRO User Mid-America

Apartment Communities (“MAA”) confirmed this and described how RealPage provided MAA

with a form listing the competitors to call and the information to obtain in order to facilitate the

collection of competitor data. ¶ 25. Using the form to guide her, the MAA employee called

competitor properties weekly to obtain their updated pricing information. Id.

       LRO Users, alongside other Lessor Defendants, also worked together to avoid periods of

oversupply of multifamily rental housing units. ¶¶ 13, 17-18, 22, 103, 139, 174. The LRO system

charts how users should pace lease renewals, thereby smoothing out natural fluctuations of supply

and demand, which further reduces any incentive for Lessor Defendants to undercut their inflated

prices. ¶¶ 22, 139.

         That LRO Users may have used a different interface to achieve the same ultimate

objective, or may have received slightly repackaged competitor data from users of RealPage’s

other RMS software—albeit Plaintiffs do not contend or concede that they did—is immaterial. See

SD3, 801 F.3d at 427 (rejecting defendants’ argument that their conduct must be “deemed

dissimilar,” and therefore not parallel, because they did not uniformly adhere to the alleged

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conspiracy or achieve the alleged objective in the same way). In SD3, the Fourth Circuit rejected

defendant’s argument that a plaintiff must allege parallel conduct in “relative lockstep,” finding

that argument to have “no support in any existing authority” and holding instead that “[a] plaintiff

establishes parallel conduct when it pleads facts indicating that the defendants acted ‘similarly.’”

Id. at 427-29. “[I]t is well settled . . . that the law does not require every defendant to participate

in the conspiracy by identical means throughout the entire class period.” In re Currency

Conversion Fee Antitrust Litig., 264 F.R.D. 100, 114 (S.D.N.Y. 2010).5 There is no requirement

that LRO Users participate in all aspects of the conspiracy or respond identically for the conspiracy

to be plausible. Plaintiffs have pled sufficient facts to show LRO Users: (1) joined the common

agreement to delegate pricing decisions to RealPage post-acquisition; and (2) abide by that

agreement. ¶¶ 13-16, 106-13, 139, 171. That is sufficient to state a claim against LRO Users.

    B. LRO Users Mischaracterize the Superseded Pleadings to Obscure the AC’s
       Properly Plead and Operative Allegations.

               1.      LRO Users Mischaracterize Plaintiffs’ Prior Pleadings.

       Likely aware that the AC renders their entire argument meritless, LRO Users ignore it

completely. Rather than identifying any purported factual or legal deficiency in Plaintiffs’

operative complaint, their brief spends 7 of its 10 pages promoting a distortion of Plaintiffs’ prior

pleadings. LRO MTD, at 1, 3-8. LRO Users attempt to create an “admission against [Plaintiffs]”

by warping the following statement, which LRO Users define as the “LRO Allegation”:


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   See also ABA Model Jury Instructions, supra note 3; Anderson News, L.L.C. v. Am. Media,
Inc., 680 F.3d 162, 191 (2d Cir. 2012) (holding that defendants’ “varied” actions during the initial
stages of the alleged conspiracy did not render the existence of a conspiracy implausible); In re
Diisocyanates Antitrust Litig., 2020 WL 1140244, at *3 (W.D. Pa. Mar. 9, 2020) (“[T]he bulk of
Defendants’ assertions are more appropriate for resolution at a later stage in this litigation . . . At
[the motion to dismiss] stage, for example, Plaintiffs need not explain why some Defendants took
many actions and others took few.”).
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       Naturally, YieldStar’s coordinated pricing strategy became more and more effective as
       more property managers implemented it. To this end, Defendant RealPage began buying
       up similar and competing software companies, and it has completed 26 acquisitions since
       its founding. The most important of these transactions came in 2017, when RealPage
       acquired Lease Rent Options (“LRO”), a company which offered a similar rent-setting
       software that was YieldStar’s strongest rival. Instead of relying on nonpublic data from
       competitors, however, LRO’s algorithm used only public market data as [an] input. LRO’s
       chief architect, Donald Davidoff, designed it that way specifically to avoid the potential
       antitrust violations arising from the use of nonpublic data to coordinate prices among
       competitors.

Id. at 3 (emphasis in original).

       LRO Users contend that the AC cannot be squared with that allegation. That is not accurate.

As is clear from the face of the LRO Allegation, it concerns LRO’s structure at its origin:

       Instead of relying on nonpublic data from competitors, [ ] LRO’s algorithm used only
       public market data as [an] input. LRO’s chief architect, Donald Davidoff, designed it that
       way specifically to avoid the potential antitrust violations arising from the use of nonpublic
       data to coordinate prices among competitors.

Id. (emphases added). That language makes clear that it describes only the original design of the

LRO software by the Rainmaker Group, before RealPage acquired it and leveraged its data to

supplement its existing anticompetitive software during the relevant time period. No amount of

misleading argument can create a fatal contradiction on the operative pleadings when they speak

to how LRO operated at different points in time, under different ownership. Given the lack of any

contradiction between the LRO Allegation and the operative allegations in the AC, LRO Users are

incorrect that Plaintiffs have somehow “plead themselves out of court.” LRO MTD, at 6 (emphasis

added) (citing NicSand, Inc. v. 3M Co., 507 F.3d 442, 458 (6th Cir. 2007)).6 Plaintiffs have done

no such thing.



6
  LRO Users’ reliance on NicSand is unavailing. NicSand was a Sherman Act § 2 case in which
one competitor (NicSand) sued another (3M), alleging 3M had monopolized or attempted to
monopolize the market for automotive sandpaper. Id. at 449. Explaining “courts typically have

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       Indeed, to accept LRO Users’ argument, one must believe that: (1) “Plaintiffs have already

admitted LRO’s algorithm uses only public information and thus is not anticompetitive,” LRO

MTD, at 6 (emphasis added); (2) “Plaintiffs have represented that LRO’s algorithm lacks the

supposed use of non-public information that Plaintiffs allege is necessary for their conspiracy

theory,” id.; and (3) “Plaintiffs have alleged that LRO is a different algorithm that uses only public

information as an input.” Id. at 8. Plaintiffs have made no such admissions, representations, or

allegations in either prior pleadings or the operative AC. Even if the LRO Allegation was not

superseded by the AC—which it is—LRO Users are simply using these prior pleadings as a vehicle

to raise factual disputes that cannot be resolved at the pleadings stage. See Solo v. United Parcel

Serv. Co., 819 F.3d 788, 796 (6th Cir. 2016) (holding that it is not appropriate to resolve a factual

dispute on a motion to dismiss).

       The AC pleads facts sufficient to show that post-acquisition, LRO served to facilitate a

cartel by allowing Lessor Defendants to collectively set prices through the exchange of non-public

information within RealPage’s RMS software. The LRO Allegation does not contradict that.

               2.      Plaintiffs’ AC Supersedes All Prior Pleadings.

       Even if the LRO Allegation were incompatible with the AC—and it is not—LRO Users

ignore black letter law which provides that “amended pleadings supersede original pleadings[,]”

Braden, 817 F.3d at 930, such that “the original pleading no longer performs any function in the

case . . .” Leggett v. W. Express, Inc., 2020 WL 1161974, at *1 n.1 (M.D. Tenn. Jan. 6, 2020)

(cleaned up). To circumvent this basic principle, LRO Users rely on a host of inapposite cases, and




permitted such claims to proceed only when one of the rivals has engaged in predatory pricing,”
the court affirmed dismissal owing to NicSand’s concession that its “Amended Complaint [Was]
Not Premised on Predatory Pricing.” Id. at 451-52.
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a distorted reading of the LRO Allegation, to paint it as an “admission[] against the pleader.” LRO

MTD, at 7.

       In a 70-year-old case cited by Defendants, the court found that statements made in an

original pleading, later altered substantially (unlike here), could be considered “admissions against

the pleader.” Pennsylvania R. R. Co. v. City of Girard, 210 F.2d 437, 440-41 (6th Cir. 1954). The

Sixth Circuit has since acknowledged its error in doing so. Shell v. Parrish, 448 F.2d 528, 530 (6th

Cir. 1971) (“While we have on one occasion on appeal taken judicial notice of a superseded

pleading . . . we think the better rule is against such practice.”) (citing Pennsylvania R. R., 448

F.2d at 530); Hayward v. Cleveland Clinic Found., 759 F.3d 601, 617 (6th Cir. 2014) (“Generally,

amended pleadings supersede original pleadings.”).7

       The Sixth Circuit law mandates that Plaintiffs’ AC supersedes any prior allegations. For

that reason, the Court can dispense with Defendants’ flawed dissection of Plaintiffs’ prior

pleadings.

               3.      Evidentiary Issues Are Improper at The Motion to Dismiss Stage.

       Even if the LRO Allegation was an “admission,” this presents an evidentiary issue that

cannot be resolved at the motion to dismiss stage. See Uhlig, 2023 WL 4234612, at *11 (denying

request that the court treat factual allegations from abandoned pleadings as admissions, concluding

that doing so “poses an evidentiary issue—not an issue the court can decide on a motion to




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   In another case cited by Defendants, on a completely anomalous set of facts involving a pro se
corporate defendant who claimed to no longer exist (and who later obtained counsel and reversed
its answer to say that it did exist, in order to avoid personal liability for the owner), at summary
judgment, the court held the defendant to the statement it made about itself in its original answer,
which is much more akin to a typical evidentiary admission against interest than a statement in a
class complaint. See PetroJebla, SA de C.V. v. Betron Enters., Inc., 2020 WL 95802 (E.D. Mich.
Jan. 8, 2020).
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dismiss.”); see also Davis, 349 F. Supp. 3d at 653 (holding that while “pleadings withdrawn or

superseded by amended pleadings [might be] admissions against the pleader in the action in which

they were filed . . . those ‘admissions’ are evidentiary admissions, not judicial admissions.”);

United States v. Avanir Pharms., Inc., 2020 WL 4339339, at *5 (N.D. Ohio July 28, 2020)

(concluding that under Pennsylvania Railroad, even superseded pleadings that constitute

admissions against interest “may be refuted by competent evidence at the appropriate time.”).

Thus, any alleged “admission” is an evidentiary issue that has no bearing at the motion to dismiss

stage and can be overcome by competent and contrary record evidence developed through fact

discovery in this MDL.

       LRO Users also claim “[t]he Court may also consider the allegations in the ProPublica

article” concerning the origins of LRO because Plaintiffs’ AC cites the article. LRO MTD, at 7.

Of course, as an initial matter, that publication does not make any “allegations,” so the argument

is simply meritless. Further, while Federal Rule of Evidence 201 allows a court to take notice of

facts not subject to reasonable dispute, LRO Users are asking the Court to take notice of the

ProPublica article specifically to refute the allegations Plaintiffs make in the AC—effectively

putting facts in dispute and taking it outside the bounds of Rule 201 judicial notice.8 Even if the

ProPublica article was considered, it does nothing more than confirm that, at its creation, LRO



8
  See Downing v. Ford Motor Co., 2018 WL 4621955, at *1 (6th Cir. Sept. 24, 2018) (confirming
“judicial notice is only proper where the fact is adjudicative, relevant, and beyond reasonable
controversy”); M.A.C. by next friend M.E.C. v. Smith, 576 F. Supp. 3d 552, 557 (M.D. Tenn. 2021)
(same). Indeed, even if the Court were to take judicial notice of the ProPublica article, it would
do so only of the fact of the publication, and not for the truth of the matter asserted therein. See In
re Omnicare, Inc. Sec. Litig., 769 F.3d 455, 467 (6th Cir. 2014) (distinguishing that the court may
take judicial notice “only of the fact that Omnicare filed the Audit Committee Charter and what
that filing said, but we could not consider the statements contained in the document for the truth
of the matter asserted, even at the motion-to-dismiss stage.”).
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used public data and was designed to avoid potential antitrust violations. Since RealPage acquired

and integrated LRO into its other RMS in 2017, though, it no longer operates that way.

   C. Plaintiffs’ AC Does Not Use Impermissible Group Pleading.

       Plaintiffs’ AC adequately alleges a plausible conspiracy between the Lessor Defendants

facilitated by RealPage. LRO Users do not argue that Plaintiffs have named broad families of

affiliated entities, they instead argue that by grouping RealPage’s integrated multifamily rental

housing pricing solutions under one acronym, “RMS,” Plaintiffs have engaged in “impermissible

group pleading[s].” LRO MTD, at 8. The key to Rule 8’s “short and plain statement” requirement

is that the factual allegations are sufficient to give the defendant fair notice of the claims brought

against them and grounds upon which those claims rest. See Twombly, 550 U.S. at 555; In re TFT-

LCD (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1184-85 (N.D. Cal. 2009) (rejecting

defendants’ “group pleadings” challenge, holding “[t]he complaints allege a complex,

multinational price-fixing conspiracy, and taken as a whole, they sufficiently allege each

defendant’s participation in that conspiracy. . .”).

       LRO Users once again rely on their same weak mischaracterization of the AC in their group

pleadings argument. LRO MTD, at 8. (“. . . it was incumbent to allege at a bare minimum that each

of the LRO defendants uses YieldStar or AIRM to participate in the alleged conspiracy.”). Because

Plaintiffs have clearly alleged that LRO was integrated into RealPage’s comprehensive RMS

platform, each LRO User’s use of LRO ties them specifically to the agreement, and LRO Users’

group pleading argument fails.

 IV.   CONCLUSION

       For the foregoing reasons, LRO Users’ Motion to Dismiss should be denied in its entirety.



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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

email addresses denoted on the Electronic Mail Notice List.

                                              /s/ Tricia R. Herzfeld
                                              Tricia R. Herzfeld




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